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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA — SAN JOSE

Larry Golden, Pro Se Plaintiff

740 Woodruff Rd., #1102 om j

Greenville, SC 29607 ee
reenville JAN 05 2023 /

Phone (864) 288-5605 CLERK, U.S. DISTRICT COURT
Email: atpg-tech@charter.net NORTHERN DISTRICT OF CALIFORNIA

 
  

 

 

  

CIVIE*@ASE NO

LARRY GOLDEN, Ww

Plaintiff, JURY TRIAL DEMANDED HO
Vv. (Direct Patent Infringement), (Induced

and Contributory Patent Infringement),

SAMSUNG ELECTRONICS (Jomt Patent Infringement)

AMERICA, INC.
January 02, 2023 .

Defendants.

 

 

COMPLAINT FOR PATENT INFRINGEMENT

1, The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC; Case No. 22-
1267 — “VACATED AND REMANDED” the relevant Case No: 22-1267 Document 15; back
to the District Court “to be filed and request service of process”. Exhibit A

2. The Federal Circuit determined the complaint, “includes a detailed claim chart
mapping features of an accused product, the Google Pixel 5 Smartphone, to independent claims
from U.S. Patent Nos. 10,163,287, 9,589,439, and 9,069,189” ... “in a relatively straightforward
manner” ... and that the [Circuit] “express no opinion as to the adequacy of the complaint or

claim chart except that it is not facially frivolous.”
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3, This is an action of alleged patent infringement, in which plaintiff Larry Golden
(“Golden”, “Plaintiff” or “Patent Owner”), hereby asserts the following claims for alleged patent
infringement of United States Patents-in-suit Nos. 10,163,287 (287 Patent), 9,589,439 (439
Patent), and 9,096,189 (‘189 Patent) (“patents-in-suit”), attached hereto as—Exhibits B-D—is
filed against Defendant SAMSUNG ELECTRONICS AMERICA, INC (“Samsung” or
“Defendant”), and alleges as follows:

4, This current complaint against Samsung “mirrors” the complaint against Google
submitted for review at the Federal Circuit in Larry Golden v. Google LLC; Case No. 22-1267 —
that was “vacated and remanded” back to the District Court after the Circuit reviewed the case
under the pleading standards set forth in Bell Atlantic Corp. v. Twombly, 550 U.S, 544 (2007),
and Ashcroft v. Iqbal, 556 U.S. 662 (2009). The panel’s “DISCUSSION in Golden v. Google
LLC; CAFC Case No, 22-1267 states:

“Under the pleading standards set forth in Bell Atlantic Corp. v. Twombly, 550 U.S. 544

(2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), a court must dismiss a complaint if it

fails to allege “enough facts to state a claim to relief that is plausible on its face.”

Twombly, 550 U.S. at 570 ... [T]his standard “requires more than labels and conclusions,

and a formulaic recitation of the elements of a cause of action will not do.” Id. at 555

(citation omitted). A plaintiff must allege facts that give rise to “more than a sheer

possibility that a defendant has acted unlawfully.” Zgbal, 556 U.S. at 678 (citation

omitted) ... this court has explained that a plaintiff... must plead ‘enough fact[s] to raise

a reasonable expectation that discovery will reveal’ that the defendant is liable for the

misconduct alleged.”

5. Samsung allegedly uses the same Android open-source architecture as Google;
the same chipset provider (Qualcomm) for the USA as Google; the same allegedly infringing
CPUs, or equivalent designed, manufactured for the smartphone as Google; the same standard
smartphone sensors, or equivalent designed, manufactured for biosensor detection as Google; the

same hazard-awareness-and-response tools (the Android Team Awareness Kit, ATAK), for

chemical, biological, radiological, and nuclear (CBRN) plug-ins as Google; and, Samsung’s
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smartphones are allegedly infringing the same patent claims and patents-in-suit asserted in the
Google case (claim 5 of the ‘287 patent, claim 23 of the ‘439 patent, and claim 1 of the °189
patent).

6. The Federal Circuit in Larry Golden y. Google LLC; Case No. 22-1267 opinion
on the relevant patents and claim charts:

“Tn the Google case, the district court again concluded that Mr. Golden’s complaint was
frivolous. Here, however, Mr. Golden’s complaint includes a detailed claim chart
mapping features of an accused product, the Google Pixel 5 Smartphone, to independent
claims from U.S. Patent Nos. 10,163,287, 9,589,439, and 9,096,189. The district court
discounted this claim chart because it ‘contains the exact same language as the claim
charts previously rejected by the Federal Circuit [in the 2019 case], although Google
Pixel 5 Smartphone appears in the far-left column instead of Apple.’ But to the extent
that the chart includes the ‘exact same language’ as previously rejected charts, it is
simply the language of the independent claims being mapped to. The key column
describing the infringing nature of the accused products is not the same as the complaint
held frivolous in the 2019 case. It attempts—-whether successfully or not—to map claim
limitations to infringing product features, and it does so in a relatively straightforward
manner...”

“We conclude that the district court’s decision in the Google case is not correct with
respect to at least the three claims mapped out in the claim chart. Mr. Golden has made
efforts to identify exactly how the accused products meet the limitations of his claims in
this chart. On remand, the district court should allow the complaint to be filed and request
service of process. Our decision does not preclude subsequent motions to dismiss by the

defendant for failure to state a claim or for summary judgment. We express no opinion as
to the adequacy of the complaint or claim chart except that it is not facially frivolous.”

NATURE OF ACTION

7. This is an action for patent infringement of United States Patent Nos, 10,163,287
(‘287 Patent), 9,589,439 (‘439 Patent), and 9,096,189 (‘189 Patent) (“patents-in-suit”), arising
under the patent laws of the United States of America, Title 35 of the United States Code, and

seeking damages and other relief under 35 U.S.C. § 271.
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8. Upon information and belief, Plaintiff alleges the patents-in-suit, that were issued
with the presumption of validity, under 35 U.S. Code § 282 -- “Presumption of validity; (a) In
General”: is Plaintiff's evidence that Plaintiff owns the patent rights for a Communicating,
Monitoring, Detecting, and Controlling (CMDC) device, that includes the smartphones of
Samsung, alleged in this case as infringing Plaintiffs patents.

9. On information and belief, Samsung and/or their affiliates, have directly infringed
each Asserted Claims of the ‘287, ‘439, and ‘189 patents, by making, using, selling and offering
to sell, and by inducing and contributing to others’ infringement through their sales, offers for
sale, and use of Samsung Galaxy smartphones such as Galaxy $8, S8+, Note 8, 87, S7 Edge, and
the latest Samsung Galaxy models such as Galaxy $22, $22+, S22 Ultra, Note 20, S20, 820+,
§20 Ultra, and other products depicted on Defendants’ websites and sold on third party websites
(“the Accused Products”) within the United States, such as the Galaxy $21 5G, and $21+ 5G; ail
without authorization or license from Plaintiff within the United States, less than six years before
the filing of this Complaint, and prior to the April 05, 2026 expiration date of the “287, *439, and

‘189 patents (the “Relevant Time Period”).

THE PARTIES

10. Plaintiff Larry Golden is a citizen of South Carolina and has a principal place of
business and residence at 740 Woodruff Road, #11062, Greenville, $.C. 29607.

11. Defendant SAMSUNG ELECTRONICS AMERICA, INC. (referred to
individually herein as “SEA”) is a New York corporation, with its principal place of business at

85 Challenger Road, Ridgefield Park, New Jersey 07660. On information and belief, SEA was
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formed in 1977 as a subsidiary of Samsung Electronics Corporation (“SEC”) and markets, sells,
and/or offers for sale a variety of consumer electronics.

12. On information and belief, within Samsung’s Information Technology & Mobile
Communications (“IM”) business division, SEA operates an office in Mountain View,
California, located at 665 Clyde Avenue, as depicted below. On information and belief, within
the IM business division, SEA imports into the United States, and distributes, markets, and sells
mobile devices in the United States, including smartphones that operate on cellular networks in

the United States.

 

 

13. On information and belief, there may be other corporate affiliates of Samsung
who participated in the infringing acts complained of herein. The identities of such affiliates are

currently unknown, because publicly available information does not permit the identification of
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each affiliate who participated in the infringing acts. Plaintiff expects the identities of such
affiliates to be revealed in discovery. Plaintiff reserves the right to amend this Complaint to name
such affiliates, if necessary, once they have been revealed.

14.  Samsung’s Information Technology & Mobile Communications (“IM”) business
division is responsible for the design, manufacture, and sale of mobile devices, including
smartphones that operate on cellular networks in the United States. According to Samsung, it “is
one of the largest manufacturers of wireless communications devices in the world and has long
focused on the United States as a critical market for its products.” See In the Matter of Certain
Wireless Communications Equipment and Articles Therein, USIYVC Inv. No. 337-TA-866,

Complaint at § 9 (Dec. 21, 2012)

STANDARD FOR REVIEW

15. IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
SOUTH CAROLINA GREENVILLE DIVISION Larry Golden, Plaintiff; vs. Apple Inc.;
Samsung Electronics USA; LG Electronics USA, Inc.; Qualcomm Inc., Motorola Solutions,
Inc.; Panasonic Corporation; AT&T Inc.; Verizon Corporation Service Group; Sprint
Corporation; T-Mobile USA, Inc.; Ford Global Technologies, LLC; Fairway Ford Lincoln of
Greenville; General Motors Company; Kevin Whitaker Chevrolet; FCA US LLC; Big ‘O’ Dodge
Chrysler Jeep Ram, Defendants. No.: 6:20-cv-04353-JD-KFM Date Filed 11/02/21 Entry 26.

16. “Accordingly, after a thorough review of the Report and Recommendation and the
record in this case, the Court adopts the Report and Recommendation as modified and
incorporates it herein. IT IS, THEREFORE, ORDERED that Plaintiff's Complaint is dismissed

without prejudice and without the issuance of service of process.”
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Dismissal “Without Prejudice”

17. Dismissal “without prejudice” occurs when a court dismisses a claim but leaves
the plaintiff free to bring a subsequent suit based on the same grounds as the dismissed claim.
Jn Semtek Intern. Inc. v. Lockheed Martin Corp., the Supreme Court pointed out that one of the
main features of dismissal without prejudice is that it does not prevent refiling of the claim... “a
case that is dismissed “without prejudice” is only dismissed temporarily. This temporary
dismissal means that the plaintiff is allowed to re-file charges, alter the claim, or bring the case to

another court.”

JURISDICTION AND VENUE

18, This is a civil action for patent infringement arising under the patent laws of the
United States, Title 35 of the United States Code. This Court has subject matter jurisdiction
pursuant to 28 U.S.C. §§§ 1331, 1332(a) and 1338¢a).

19, On May 22, 2017, the U.S. Supreme Court narrowed the scope of proper venue
for patent infringement actions for domestic corporations. See 1C Heartland LLC v. Kraft Foods
Grp. Brands LLC, No. 16-341 (May 22, 2017). The TC Heartland decision reverses the approach
to venue previously adopted by the U.S. Court of Appeals for the Federal Circuit, which had held
for 27 years that a domestic corporation can be sued for patent infringement anywhere that
corporation was subject to personal jurisdiction.

20. The special venue statute for patent infringement actions, 28 U.S.C, § 1400(b),
has two provisions permitting venue: “[1] where the defendant resides, or [2] where the
defendant has committed acts of infringement and has a regular and established place of

business.”
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21, Since the enactment of that statute, the Supreme Court consistently has interpreted
Section 1400(b)’s first provision of proper venue — “where the defendant resides”. E.g., Fourco
Glass Co. v. Transmirra Prods. Corp., 353 U.S. 222, 226 (1957). As a result, a domestic
corporation may now be sued for patent infringement only in its state of incorporation or where it
has committed acts of infringement and has a regular and established place of business.

22. Venue is proper over the Defendant in this judicial district under 28 U.S.C.
§§1391 and/or 1400(b). Venue is proper within this District under 28 U.S.C. § 1391(b) and (c)
because Samsung transacts business within this District and offers for sale in this District
products that infringe the patents-in-suit. In addition, a substantial part of the events giving rise
to the claims occurred in this District. Thus, venue is proper over Samsung under 28 U.S.C. §
1400(b), because Samsung resides in this district, has committed acts of infringement in this

district, and has regular and established places of business in this district.

INTRADISTRICT ASSIGNMENT

23. This case is a patent infringement dispute that is appropriate for district-
wide assignment. Assignment to the San Jose Division is appropriate because a substantial part
of the events that gave rise to the claims asserted in this Complaint occurred in Santa Clara

County.

NOTICE OF RELATED CASES

24. Pursuant to the California Rules of Court; Rule 3.300. Related cases: This
pending civil case is related to two other pending cases [Larry Golden vy. Google LLC, Case No.
4:22-cv-05246-HSG, and Larry Golden v. Qualcomm, Inc. 4:22-cv-03283-HSG] filed in the U.S.

District Court for the Northern District of California.
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25. All three cases involve the same Plaintiff and are based on the same or similar
claims; arose from the same or substantially identical transactions, incidents, or events requiring
the determination of the same or substantially identical questions of law or fact; involve claims
of infringement, and damages to the same patents; and, are likely to require substantial

duplication of judicial resources if heard by different judges.

STANDARD FOR REVIEW

26. The Rules of the COFC (“RCFC”) provide contractors at least two avenues for
being heard at court. First, RCFC 14(b) allows parties to formally notify any interested third-
party, such as an indemnitor, of the § 1498(a) complaint. A noticed party “may file an
appropriate pleading setting forth the person’s interest in the subject matter of the litigation.”
RCFE 14(c)(1)(a). Second, RCFC 24 allows interested parties to proactively intervene,
permissively or by right.

27. Inthe COFC case Larry Golden vy. USA; Case 1:13-cv-00307-EGB Document 224
Filed 03/31/21 Page 2 of 4; Samsung Electronics of America, Inc. was provided notice to appear
to protect any interest Samsung may have in the case (Exhibit EK). Samsung failed to appear to
protect its interest. Claiming an interest in this current case is an indication Samsung deliberately
defaulted on its responsibility to appear and defend any interest Samsung may have had in the
case. It is a waste of judicial resources to allow Samsung the opportunity to defend against
Plaintiff's current claims of infringement; especially after the Federal Circuit’s decision in Larry
Golden v. Google LLC Case No. 22-1267.

28. Under Rule 14(b) of the Rules of the United States Court of Federal Claims

(RCFC), the court “may notify any person with the legal capacity to sue or to be sued who is
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alleged to have an interest in the subject matter of the suit.” Further, a “person served with a
notice issued . .. may file an appropriate pleading setting forth the person’s interest in the subject
matter of the litigation.”

29, In resolving a petition for mandamus, the Federal Circuit held in Jn re UUSI,
LLC, that a third party’s potential obligation to indemnify the government for any patent
infringement liability provides “sufficient interest in litigation to offer evidence and advance
legal arguments appropriate to protect its own interests. As the USCFC held in Bowser, Inc. v.
United States:

“We think there is implicit in the whole plan and purpose of Subsection 14(b) a

congressional intent that the issues of fact and law decided in a suit against the United

States in the Court of Claims may not be retried in another court at the insistence of a

third party, who had a “possible” interest in the case in this court but who failed to appear

and protect his interest after timely notice or summons had been served upon him.” 420
F.2d 1057, 1060 (Ct. Cl. 1970).

COUNT I

(Infringement of the ‘287 Patent)

30. Golden realleges and incorporates herein the allegations set forth in {{ 1-29.

31. On information and belief, Samsung is jointly, directly, indirectly and/or under
the ‘doctrine of equivalents’, infringing at least independent claims 4, 5, and 6 of the ‘287 patent.
The alleged infringing products are: Samsung Galaxy $8, S8+, Note 8, $7, S7 Edge, $22, S22+,
S22 Ultra, Note 20, $20, S20+, $20 Ultra, and Galaxy $21 5G, and 821+ 5G.

32. As set forth in Golden’s preliminary infringement contentions, Samsung’s
making, using, offering for sale, selling and/or importing Plaintiffs patented devices, have at a

minimum directly infringed the ‘287 patent and Samsung is thereby liable for infringement of the

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‘287 patent pursuant to 35 U.S.C. § 271. Samsung have caused damage to Golden, which
infringement and damage will continue unless and until Samsung is enjoined.

33. The alleged infringement Golden has identified to this Count has caused
itreparable injury to Golden for which remedies at law are inadequate. Considering the balance
of the hardships between the parties, a remedy in equity, such as a permanent injunction is

warranted and such a remedy would be in the public interest.

COUNT II
(Infringement of the ‘439 Patent)
34. Golden realleges and incorporates herein the allegations set forth in {| 1-33.

35. On information and belief, Samsung is jointly, directly, indirectly and/or under
the ‘doctrine of equivalents’, infringing at least independent claims 13, 14, 15, and 23 of the “439
patent. The alleged infringing products are: Samsung Galaxy S8, S8+, Note 8, 87, S7 Edge, S22,
S22+, $22 Ultra, Note 20, $20, S20+, $20 Ultra, and Galaxy $21 5G, and S21+ 5G,

36. Asset forth in Golden’s preliminary infringement contentions, Samsung’s
making, using, offering for sale, selling and/or importing Plaintiff's patented devices, have at a
minimum directly infringed the ‘439 patent and Samsung is thereby liable for infringement of the
‘439 patent pursuant to 35 U.S.C. § 271. Samsung have caused damage to Golden, which
infringement and damage will continue unless and until Samsung is enjoined.

37. The alleged infringement Golden has identified to this Count has caused
irreparable injury to Golden for which remedies at law are inadequate. Considering the balance
of the hardships between the parties, a remedy in equity, such as a permanent injunction is

warranted and such a remedy would be in the public interest.

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COUNT til
(Infringement of the ‘189 Patent)

38. Golden realleges and incorporates herein the allegations set forth in {{] 1-37.

39, | On information and belief, Samsung is jointly, directly, indirectly and/or under
the ‘doctrine of equivalents’, infringing claims 1, 2 & 3 of the ‘189 patent. The alleged infringing
products are: Samsung Galaxy $8, S8+, Note 8, 87, 87 Edge, $822, 822+, $22 Ultra, Note 20,
$20, $20+, $20 Ultra, and Galaxy $21 5G, and 821+ 5G.

40. Asset forth in Golden’s preliminary infringement contentions, Samsung’s
making, using, offering for sale, selling and/or importing Plaintiff's patented devices, have at a
minimum directly infringed the ‘189 patent and Samsung is thereby liable for infringement of the
‘189 patent pursuant to 35 U.S.C. § 271. Samsung have caused damage to Golden, which
infringement and damage will continue unless and until Samsung is enjoined.

41, The alleged infringement Golden has identified to this Count has caused
irreparable injury to Golden for which remedies at law are inadequate. Considering the balance
of the hardships between the parties, a remedy in equity, such as a permanent injunction is

warranted and such a remedy would be in the public interest.

ALLEGED INDUCED AND CONTRIBUTORY INFRINGEMENT
Plaintiff’s Owns the Patent Rights on the CPUs Samsung uses with its Smartphones. The
CPUs are Described as the “Brains” of the Smartphone.

42, The Central Processing Unit (CPU) is the programmable device capable of
general-purpose computation. It is the engine of logic, as with the “brain”, and the core piece of

hardware in the Patent Owner’s Communication, Monitoring Detecting, and Controlling

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(CMDC) devices (i.e., new, improved upon, and useful desktop PCs, laptops, tablets, cell phones
[smartphone], etc.)

43. The Patent Owner’s CPU is capable of arithmetic operations such as add and
divide and flow control operations such as conditionals. The Patent Owner’s central processing
unit (CPU) is the electronic circuitry within the CMDC device that is vital and essential to
processing and executing program instructions,

44. The CPU, which controls all Programmable Logic Controllers (PLCs) consists of
two basic sections: the central processing unit (CPU) and the input/output interface system. The
input/output system is physically connected to field devices (e.g., sensors, etc.) and provides the
interface between the CPU and the information providers (inputs) and controllable devices
(outputs).

45. To operate, the CPU “reads” input data from connected field devices through the
use of its input interfaces, and then “executes”, or performs the control program that has been
stored in its memory system. The CPU processes instructions in order to carry out certain
functions that make the device operate properly. The CPUs are often described as the “brain” of
computers, smartphones and tablets because of the central role they play in the functioning of the
devices.

46. All of the different components that make up a computer’s processor have to be
condensed to fit in devices, such as a laptops and tablets, where they exist as a mobile
application processor, Chipset, or a System-on-a-Chip (SoC). Mobile application processors are
found in mobile devices, such as smartphones.

47, A core, or CPU core, is the “brain” of a CPU. It receives instructions, and

performs calculations, or operations, to satisfy those instructions. A CPU can have multiple

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cores. A CPU (processor) with two cores is called a dual-core processor; with four cores, a quad-
core; six cores, hexa-core; eight cores, octa-core. https://www.computer
hope.com/jargon/c/core.htm#:~:text

48. Plaintiff owns the patent rights to a new, improved upon, and useful cell phone;
smartphone; and central processing unit designed specifically for Plaintiff's CMDC device (Le.,
new, improved upon, and useful cell phone; smartphone, etc.)

49, Plaintiff filed his first Disclosure Document (No. 565732) with the USPTO on
November 26, 2004; and his first patent application on April 05, 2006.

50. Following is a list of apparatuses, mechanisms, devices, and products (GPS, open-
source architecture, internal sensor for C/B detection, external detector for CBRNE, fingerprint
scanner, NFC), Samsung allegedly used for the assembly of their smartphones (i.c., Plaintiff's

CMDC—smartphone--device); and, which antedates the same used by Samsung.

Samsung’s First Smartphone Global Positioning System (GPS). (2007)

Si. “Samsung’s i550 mobile phone is seen in an undated handout image, released to
Reuters on October 17, 2007. Mobile phone maker Samsung Electronics Co Ltd said on Tuesday
it would launch its first-ever phone incorporating a Global Positioning System (GPS). The
phone—called the i550will use the operating software of Britain’s Symbian ...” REUTERS/
Samsung/ Handout. TECHNOLOGY NEWS, (2007, Oct. 16). Samsung to launch its first-ever
GPS phone https://www reuters.com/article/us-samsung-phone/samsung-to-launch-its-first-ever-

pps-phone-idUSL1664279020071017

Samsung’s First “Product Grouping” Platform for Smartphones (2007)
52. In late 2007, the Open Handset Alliance (OHA) announced its formation. The

OHA was a coalition of more than 30 hardware, software and telecom-munications companies,

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including Google, Qualcomm, Broadcom, HTC, Intel, Samsung, Motorola, Sprint, Texas
Instruments and Japanese wireless carriers KDDI and NTT DoCoMo. The alliance’s goal was to
contribute to the develop-ment of the first open-source platform for mobile devices. Google
released the public beta version of Android 1.0 for developers around the same time of the
alliance’s announcement, in November 2007. Android OS https://www.techtarget.
com/searchmobilecomputing/definition/Android-OS. [Product Grouping: products grouped
together by common features and design similarities].

53, The Samsung GT-I7500 Galaxy is a smartphone manufactured by Samsung that
uses the open-source Android operating system. It was announced on 27 April 2009, [ “Samsung
launches 17500, the company’s first Android-powered mobile phone”. Innovator.samsungmobile
.com. Archived from the original on 2012-05-02. Retrieved 2010-12-16] and was released on 29
June 2009 as the first Android-powered device from Samsung Mobile, [“Samsung Galaxy full
specs — Phone Arena”. PhoneArena. Retrieved 2017-04-26| and the first in what would become

the long-running Galaxy series. It is succeeded by the Samsung Galaxy S.

Samsung’s First “built-in” Smartphone Sensor for Chemical and/or Biological Detection
(2008)

54. | Samsung’s camera lens in smartphones with microfluidic lens functions as
cameras; “uses microscope to focus on a chemical sensor ... [a] megapixel camera captures the
image from the array of nanopores uses fluid rather than bulky moving parts. The sensors
contained in one array is determined by the pixel resolution phone camera. Megapixel resolution
in cell phone cameras; probe a million different spots on the sensor simultaneously. Tiny sensors
tucked into cell phones could map airborne toxins in real time. Source: https://

www.understanding nano.cotn/cell-phone-sensors-toxins.html

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Samsung’s First “remote” Smartphone Detectors for CBRNE Detection (2010)

55. Initially created in 2010 by the Air Force Research Laboratory: Through
collaboration and innovation, the Defense Threat Reduction Agency has integrated its powerful,
hazard-awareness-and-response tools into the Android Tactical Assault Kit (or the Android Team
Awareness Kit, ATAK). ATAK is a digital application available to warfighters throughout the
DoD. Built on the Android operating system, ATAK offers warfighters geospatial mapping for
situational awareness during combat — on an end-user device such as a smartphone or a tablet.
With DTRA’s contribution, ATAK now includes chemical, biological, radiological, and nuclear
(CBRN) plug-ins. As of 2020, ATAK has a growing base of 250,000 military and civilian users
across numerous public safety agencies and US partner nations, and has seen the addition of
15 United States Department of Defense programs. “ATAK Improves Situational Awareness for

California Fire Department”. Samsung Business Insights, 2019-10-16. Retrieved 2019-10-19.

Samsung’s First Smartphone Fingerprint Scanner (2010)

56. “The mid-2010s was when fingerprint scanners on smartphones really took off.
The technology became a common feature for flagship smartphones. Apple’s first phone with the
technology was the iPhone 5s, and Samsung’s was the Galaxy Note4.” Fingerprint Scanners On

Modern Smartphones” https://www.makeuseof .com/fingerprint-scanners-evolution/

Samsung’s First Smartphone ‘Lock Disabling Mechanism’ that is Interconnected to the
Fingerprint Scanner (2010)

57. “Samsung devices come with a range of security options, so that you can prevent
unauthorized users from accessing your device. You can also set additional security measures
that stop unauthorized users from resetting your device and its security methods ... [i]f you are

locked out of your device and have not set up a remote unlock method, you will need to perform

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a factory reset ...[t]here are several screen lock options available on Samsung devices. These
will vary depending on your specific devices but can include: Swipe; Pattern; PIN; Password,
Facial recognition; and Fingerprint recognition ... [i]f you can unlock your device using your
biometric method (fingerprint or face recognition) but can’t change your screen lock type
because you’ve forgotten your PIN, pattern or password, use Find My Mobile to reset the unlock
methods. This will remove all unlock data including PIN, pattern, password and biometric
methods so that you can reset them again.” 7 can’t unlock my Samsung phone & Remote unlock

is off https://www.samsung.com/uk/support/mobile-devices/i-cant-unlock-my-device/

Samsung’s First Central Processing Unit (Chipset / System-on-a-chip) for the Smartphone
(2010)

58. “Wanting to cement its position as a bonafide competitor in the SoC arena,
Samsung started working on designing custom CPUs from scratch. It set up the Samsung Austin
R&D Center (SARC) in 2010 and staffed it with chip industry veterans from the likes of Intel,
AMD and ARM. Under Samsung’s LSI division, the SARC was tasked with developing high-
performance, low-power complex CPU architectures and designs ... Announced in November
2015, the Exynos 8 Octa 8890 was Samsung’s first premium chipset with a custom-designed
CPU and embedded LTE modem. It featured Mongoose 1 (M1) cores, the first in-house high-
performance low-power ARM microarchitecture from Samsung. The company followed an
aggressive 3-year design schedule for the custom CPU ...” Samsung begins designing custom
CPUs from scratch https://www.sammobile. com/samsung/exynos/#:~:text=Samsung 720

introduced™%20the%20industry%27s%20first,5%200cta%205410%2C%20in%202013.

Samsung’s First Radio Frequency Near-Field Communication (NFC) for Smartphones
(2010)

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59. In 2010, the Samsung NEXUS S became the first Android with NFC support.
The Nexus S 4G is a smartphone co-developed by Google and Samsung and manufactured
by Samsung Electronics for release in 2010. It first appeared in September 2011 in the U.S. on
the Nexus S smartphone over the Sprint wireless network. The Samsung Galaxy § IIT launched
in 2012 with NFC and S Beam (built on Android Beam) for data sharing. Samsung also launched
tiny NFC TecTile tags in 2012 that can be programmed and rewritten by NFC devices. The
Evolution of Near Field Communication (NFC) https://www.techpats.com/evolution-near-field-
communication-nfc/#:~:text=In%202010%2C%20the%20Samsung’20NEXUS,

first%20 Android’%20with”20NFC%20support.

Samsung’s First Internet Mobile Web Browser for Smartphones (2012)

60. Samsung Internet replaced the stock Android browser as the default on Samsung
Galaxy devices in 2012 “Samsung Internet Overview”, Samsung Developers. Retrieved 2018-04-
08. Around early 2013, it was decided to base the browser on Chromium, and the first
Chromium-based version was shipped with an S4 model later that year “Samsung Internet
browser will get ‘Smart Go Next’ for better form navigation, also coming to Chrome”. Android
Police. 10 October 2017. Retrieved 2018-04-08.

61. Samsung Internet is a mobile web browser for smartphones and tablets developed
by Samsung Electronics. It is based on the open-source Chromium project. It comes pre-installed
on Samsung Galaxy devices. Since 2015, it has been available for download from Google Play
“Introducing Samsung Internet v6.2 stable”, Samsung Developers. Retrieved 2018-04-08; “Ger
Samsung’s Internet Browser on Almost Any Android Device”, Gadget Hacks. Retrieved 2018-04-

08; ... Samsung estimated that it had around 400 million monthly active users in 2016.

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Samsung Galaxy S21 “mirrors” Google Pixel 5: “Literal Infringement”

 

 

A monitoring
device, comprising:

A cell phone
comprising:

 

A communication
device of at least
one of a cell phone,
a smart phone, a
desktop, 2 handheld,
a PDA, a laptop, or
a computer terminal
for monitoring
products,
interconnected to a
product for
communication
therebetween,
comprising:

 

CPU: Octa-core (1
* 2.4 GHz Kryo 475
Prime & | x 2,2

CPU: Octa-core
(1x2.84 GHz Cortex-
X1 & 3x2.42 GHz
Cortex-A78 & 4x1.80

a central processing

at least one ofa
central processing
unit (CPU) for
executing and
carrying out the
instructions of a
computer program,

 

Measures the
ambient room
temperature in
degrees Celsius
(°C). Monitoring air
temperatures,

room temperature in
degrees Celsius (°C).
Monitoring air
temperatures.

 

with the at least one
CPU for monitoring
temperature;

GHz Kryo 475 Gold
& 6 x 1,8 GHz GHz Cortex-A53) - at least one central unit (CPU) for a network processor
: USA/China. System- : : : eae .
Kryo 475 Silver) _ processing unit executing and which is specifically
. | on-a-chip: Qualcomm .
System-on-a-chip: (CPU); carrying out the targeted at the
3M8350 Snapdragon . : .
Qualcomm 888 5G (5 nm) - instructions of a networking
Snapdragon 765G. : computer program; | application domain,
. . USA/China. OS:
OS: Android I[1, : or a front-end
Android 11,
upgradable to processor for
: upgradable to os
Android 13 Android 13 communication
° between a host
computer and other
devices;
Ambient Ambient Temperature
Temperature sensor sensor supported b
supported by the PP y at least one
. the Android platform.
Android platform. : temperature sensor
Measures the ambient | . Ls
in communication x X

 

 

 

 

 

 

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Gravity sensor

Gravity sensor

 

Controlling screen

6-inch flexible

Cillumination) in ix.

brightness. Screen:

(illumination) in Ix.
Controlling screen
brightness. Screen:
6.2 inches flexible

communication with
the at least one
CPU;

supported by the supported by the
Android platform. Android platform.
Measures the force | Measures the force of | at least one motion
of gravity in gravity in m/s2 that is sensor in
m/s2 that is applied | applied to a device on | communication with x x
to a device on all all three physical axes the at least one
three physical axes (x, y, 2). Motion CPU;
(x, y, Z). Motion detection (shake, tilt,
detection (shake, etc.).
tilt, etc.).
Light sensor Light senser
supported by the supported by the
Android platform. Android platform. \ Lo
Measures the Measures the ambient at least one foe
ambient light level light level screen 108
monitoring in x x

 

eSIM capable

 

Galileo, BeiDou),

GALILEO. Nano-
SIM and eSIM or
Dual SIM

CPU;

 

 

 

OLED display at OLED display at
432 ppi 421 ppi
at least one of a
satellite connection at least one satellite
connection, WiFi Oncoeth °
Connectivity: connection, internet connection, WiFi
Connectivity: Wi-Fi 802.11 connection, radio connection internet
Wi-Fi 5 (a/b/g/n/ac) a/b/g/n/ac/6, dual- at least one global frequency (RF) C onnection radio
2.4+ 5.0 GHz, band, Wi-Fi Direct. positioning system | connection, cellular frequenc (RF)
Bluetooth 5.0 + Bluetooth 5.0, A2DP, | (GPS) connection in connection, connection. cellttlar
LE, NEC, GPS LE. NFC, GPS, communication with broadband conne oti on
(GLONASS, GLONASS, BDS, the at least one connection, long broadban d
range radio

frequency (RF)
connection, short
range radio
frequency (RF)
connection, or GPS
connection;

 

connection, long
and short-range
radio frequency
(RF) connection, or
GPS connection;

 

 

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wherein at least one

wherein the only
type or types of

 

 

 

Connectivity: Wit 802.11 of... WiFi communication with
WiFi 5 (a/b/g/n/ac) alb/e/n/aci6, dual- at least one of an connection, internet the transmitter and
9445.0 GHz band. Wi-Fi Direct, internet connection connection, radio the receiver of the
Bluetooth 5.0+ | Bluetooth 5.0, A2DP, ora WEF frequency (RF) communication
LE. NFC. GPS LE. NFC. GPS connection in connection, cellular device and
(GLONASS GLON ASS BDS communication with connection... transceivers of the
Galileo BeiDou) G ALILEO. Nano- the at least one capable of signal products is a type or
eSIM capable SIM and eSIM or CPU; communication with | types selected from
Dual SIM the transmitter or the group... of
the receiver; satellite, Bluetooth,
WiFi...
Connectivity: at least one of a...
Connectivity: Wi-Fi 802.11 at least one of a Bluetooth
Wi-Fi 5 (a/b/g/n/ac) | a/b/g/n/ac/6, dual- Bluetooth connection, Wil
24+ 5.0 GHz band, Wi-Fi Direct, connection, a connection, internet
Bluetooth 5.0+ | Bluetooth 5.0, A2DP, | °°/lular connection, connection...
LE, NEC, GPS LE,NFC,GPS, | Or a satellite cellular *
( GL ONASS GLON ASS, BDS, connection in comnection.. - Short
Galileo, BeiDou), | GALILEO. Nano. | Communication with | range radio
eSIM capable SIM and eSIM or the at least one frequency (RF)
Dual SIM CPU; connection, or GPS
connection;
Google’s Android The Android
operating system operating system
features a lock features a lock
mechanism to mechanism to secure
secure your phone, | your phone, known as | at least one locking
known as pattern pattern lock. To set, mechanism in whereupon the ceil
lock. To set, drag j drag your finger along | communication with phone is
your finger along lines on the screen. | the at least one CPU | interconnected to
lines on the screen. | To unlock the phone, for locking the the cell phone
To unlock the replicate communication detection device to
phone, replicate the pattern drawn. device, the at least receive signals or
the pattern drawn. | If you fail to solve the one locking send signals to lock
if you fail to solve pattern too mechanism or unlock doors, to
the pattern too many times, the configured to at activate or x

many times, the
phone locks and
cannot be unlocked
without logging
into the associated
Google account.

Google Nest x
Yale Lock is
connected to the
Nest app; you can
lock or unlock your
door from your
phone.

 

phone locks and
cannot be unlocked

without logging
into the associated

Google account.

Samsung Smart
Doorlock - Apps on
Google Play. Google
Nest Yale Lock is
connected to the Nest
app; you can lock or

unlock your door
from your phone.

 

least one of engage
(lock) the
communication
device, disengage
(unlock) the
communication
device, or disable
(make unavailable)
the communication
device;

 

deactivate security
systems, to activate
or deactivate multi-
sensor detection
systems, or to
activate or
deactivate the cell
phone detection
device;

 

 

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Pixel phones use
USB-C with USB

and cables. To
charge your phone
with a USB-
A power adapter,
use a USB-C to

2.0 power adapters

Samsung USB-C
Cable lets you charge
your USB-C device as
well as syne your data
to your smartphone

at least one power
source comprising
at least one of a
battery, electrical
connection, or
wireless connection,
to provide power to
the communication

 

Biometric factors
allow for secure
authentication on
the Android
platform. The
Android framework
includes face and
fingerprint
biometric
authentication.
Android can be
customized to
support other forms
of biometric
authentication (such
as Iris).

 

Biometric factors
allow for secure

Android platform.
The Android

biometric
authentication.
Android can be

other forms of

biometric
authentication (such
as lris).

 

authentication on the

framework includes
face and fingerprint

customized to support

at least one
biometric sensor in
communication with
the at least once
CPU for providing
biometric
authentication to
access the
communication
device;

 

phone is equipped
with a biometric
lock disabler that
incorporates at least
one of a fingerprint
recognition, voice
recognition, face
recognition, hand
geometry, retina
scan, iris scan, or
signature such that
the cell phone is
locked by the
biometric lock
disabler to prevent
unauthorized use;
and

 

USB-A cable. device;
wherein the
communication
device is equipped
with a biometric
BIOMETRICS: BIOMETRICS: wherein the cell lock disabler that

incorporates at least
one ofa fingerprint
recognition, voice
recognition, face
recognition, hand
geometry, retina
scan, iris scan and
signature such that
the communication
device that is at
least one of the cell
phone, the smart
phone, the desktop,
the handheld, the
PDA, the laptop or
the computer
terminal is locked
by the biometric
lock disabler to
prevent
unauthorized use

 

 

 

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Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) provides a
single interface for
viewing and

Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) provides a
single interface for
viewing and

the cell phone is at
least a fixed,
portable or mobile

the communication
device is at least a
fixed, portable or

 

controlling different | controlling different at ast one Sensor communication come tion
CBRN-sensing CBRN-sensing : . , device .
: . biological, or . device
technologies, technologies, whether <a interconnected to .
: . human detection im interconnected to a
whether that is a that is a wearable oe . the cell phone
communication with . : fixed, portable or
wearable smartwatch that the at least one detection device, mobile product
smartwatch that measures a CPU: capable of wired or capable oF wired or
measures a warfighter’s vitals , wireless P wireless
warfighter’s vitals (e.g., heart rate) or a communication communication
(e.g., heart rate) ora | device mounted on a therebetween; and therebetween
device mounted on drone to detect ™
a drone to detect chemical! warfare
chemical warfare agents.
agents,
Android Team
Awareness Kit,
ATAK (built on the
Android operating Andraid Team
system) is a digital Awareness Kit,
application ATAK (built on the
available to Android operating
warfighters system) is a digital
throughout the application available i least one Ona
DoD. ATAK offers to warfighters one or more biological sensor. an wherein the
warfighters throughout the DoD. detectors in ex. Ive sensor. a communication
geospatial mapping ATAK offers communication with Haman sensor a device receives a
for situational warfighters geospatial | the at least one CPU , signal via any of
6 EeOSP contraband sensor y
awareness during mapping for for detecting at least or a radiological , one or more
combat — on an situational awareness one of chemical, sensor ca able of products listed in
end-user device during combat — on biological, bein die osed any of the plurality
such as a an end-user device radiological, or within’ on . on or of product grouping
smartphone or a such as a smartphone explosive agents; » OF, UP categories;

tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

or a tablet. With
DTRA’s contribution,
ATAK now includes
chemical, biological,
radiological, and
nuclear (CBRN) plug-
ins.

 

 

adjacent the cell
phone;

 

 

 

 

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Connectivity:
Wi-Fi 5 (a/b/g/n/ac)
2.4 + 5.0 GHz,
Bluetooth 5.0 +
LE, NFC, GPS
(GLONASS,
Galileo, BeiDou),
eSIM capable

Connectivity:
Wi-Fi 802.11
a/b/g/n/ac/6, dual-
band, Wi-Fi Direct.
Bluetooth 5.0, A2DP,
LE. NFC, GPS,
GLONASS, BDS,
GALILEO. Nano-
SIM and eSIM or
Dual SIM

at least one radio-
frequency near-field
communication
(NFC) connection in
communication with
the at least one
CPU...

 

 

Google Nest * Yale
Lock is connected
to the Nest app; you
can lock or unlock
your door from your
phone.

Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) provides a
single interface for
viewing and
controlling different
CBRN-sensing
technologies

 

Samsung Smart
Doorlock - Apps on
Google Play. Google
Nest x Yale Lock is
connected to the Nest
app; you can lock or
unlock your door
from your phone.

Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) provides a
single interface for
viewing and
controlling different
CBRN-sensing
technologies

 

at least one of a
transmitter or a
transceiver in
communication with
the at least one CPU
configured to send
signals to monitor at
least one of a door,
a vehicle, ora
building, send
signals to lock or
unlock doors, send
signals to control
components of a
vehicle, send signals
to control
components of a
building, or...
detect at least one of
a chemical
biological... agent
such that the
communication
device is capable of
communicating,
monitoring,
detecting, and
controlling.

 

a transmitter for
transmitting signals
and messages to a
cell phone detection
device; a receiver
for receiving signals
from the cell phone
detection device;

 

a transinitter for
transmitting signals
and messages to at
least one of plurality
product groups
based on the
categories of a
multi-sensor
detection device, a
maritime cargo
contamer, a cell
phone detection
device, or a locking
device;

a receiver for
receiving signals,
data or messages

from at least one of
plurality product
groups based on the
categories of a
multi-sensor
detection device, a
maritime cargo
container, a cell
phone detection
device, or a locking
device;

 

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Google Nest x Yale
Lock is connected
to the Nest app; you
can lock or unlock
your door from your

phone.

Android Team
Awareness Kit,

Samsung Smart
Doorlock - Apps on
Google Play. Google
Nest x Yale Lack is
connected to the Nest
app; you can lock or

unlock your door

from your phone.

whereupon the
communication
device, is
interconnected to a
product equipped to
receive signals from
or send signals to
lock or unlock
doors, activate or

 

awareness during
combat — on an
end-user device
such as a
smartphone or a
tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

 

 

situational awareness
during combat — on
an end-user device
such as a smartphone
or a tablet. With
DTRA’s contribution,
ATAK now includes
chemical, biological,
radiological, and
nuclear (CBRN) plug-
ins.

 

 

device; a receiver
for receiving signals
from the cell phone

detection device;

ATAK (built on the Android Team x x deactivate security
. at Awareness Kit, :
Android operating ATAK (built on the systems, activate or
system) provides a Android operatin deactivate multi-
single interface for P ang sensor detection
1 system) provides a
viewing and single interface for systems, or to
controlling different .. ine and activate or
CBRN-sensing VIEW Ings 2 deactivate cell
. controlling different :
technologies : phone detection
CBRN-sensing
: systems
technologies
Android Team
Awareness Kit,
ae (ult on the Android Team wherein at least one
ste ") ee i te Awareness Kit, satellite connection,
system lication ATAK (built on the Bluetooth
suitable to Android operating connection, WiFi
warfichters system) is a digital connection, internet
throu en the application available connection, radio
DoD ar AK offers to warfighters frequency (RF)
“ Sight one throughout the DoD, a transmitter for connection, cellular
ati i ers in ATAK offers transmitting signals connection,
oe ee i A tional B warfighters geospatial and messages to a broadband
or sHuano mapping for x cell phone detection | connection... short

range radio
frequency (RF)
connection is
capable of signal
communication with
the transmitter and
the receiver of the
communication
device and
transceivers of the
products;

 

 

 

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Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) is a digital
application
available to
warfighters
throughout the
DoD. ATAK offers
warfighters
geospatial mapping
for situational
awareness during
combat -— on an
end-user device
such as a
smartphone or 4
tablet. With
DTRA’s
contribution, ATAK
now includes
chemical,
biological,
radiological, and
nuclear (CBRN)
plug-ins.

 

Android Team
Awareness Kit,
ATAK (built on the
Android operating
system) is a digital
application available
to warfighters
throughout the DoD.
ATAK offers
warfighters geospatial
mapping for
situational awareness
during combat — on
an end-user device
such as a smartphone
or a tablet. With
DTRA’s contribution,
ATAK now includes
chemical, biological,
radiological, and
nuclear (CBRN) plug-
ins.

 

whereupon a signal
sent to the receiver
of the cell phone
detection device
from at least one of
the chemical sensor,
the biological
sensor, the
explosive sensor,
the human sensor,
the contraband
sensor, or the
radiological sensor,
causes a signal that
includes at least one
of location data or
sensor data to be
sent to the cell
phone.

 

 

 

 

 

62. To avoid infringing Plaintiffs patents, Samsung must do the following: 1)
discontinue using the open-source Android operating system; 2) block all software applications
that are specific to integrating CBRNE sensors with Samsung’s mobile devices; 3) design mobile
devices that does not include a port for CBRNE plug-ins; 4) design mobile devices that does not
include cameras for CBRNE detecting; 5) design mobile devices that does not include the nine
standard sensors illustrated in Figure 4 below that are used as biosensors; or 6) settle previous
damages with Plaintiff and negotiate a licensing agreement.

63. The devices, and products listed in the above “ALLEGED INDUCED AND
CONTRIBUTORY INFRINGING PRODUCTS” section of this document are all included as

limitations of claim 5 of the ‘287 patent (see claim chart above). Amendment is reserved.

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Figure 1 shows the integration requirement of the three patent claims [5, 23,

& 1] of the three patents [‘287, ‘439, & ‘189] asserted in this case.

 

A monitoring device,
comprising:

at least one sensor for chemical,
biological, or human detection
in communication with the at
least one CPU;

one or more detectors in
communication with the at least
one CPU for detecting at least
one of chemical, biological,
radiological, or explosive
agents

 

 

A cell phone comprising:

at least one of a chemical
sensor, a biological sensor, an
explosive sensor, a human
sensor, a contraband sensor, or
a radiological sensor capable of
being disposed within, on, upon
or adjacent the cell phone;

... the chemical sensor, the
biological sensor, the explosive
sensor, the human sensor, the
contraband sensor, or the
radiological sensor, causes a
signal that includes [] location
data [] sent to the cell phone.

 

 

A communication device of {] a
cell phone, a smart phone, a
desktop, a handheld, a PDA, a
laptop, or a computer terminal
[| comprising:

a transmitter for transmitting
signals and messages to at least
one of [] a multi-sensor
detection device, [] a cell phone
detection device...;

a receiver for receiving signais,
data or messages from at least
one of [| a multi-sensor
detection device, [] a cell phone
detection device. ..;

 

Figure I

The patents’ written support can be found in Plaintiff's patent specifications. Detector

case is considered the “genus” to a group of products that represent the “species”. Included in the

group are CBRNE-H sensors.

_.. detector cases that is mounted to, detector cases that is affixed to, detector cases that is

outside of, detector cases that is inside of, and detector cases that is adjacent to; the
products grouped into what may be referred to as Product grouping 4 (monitoring &
communication devices) include, but are not limited to, mobile communication devices,
mobile communication units, portable communication devices, portable communication
equipment, wired communication devices, wireless communication devices, monitoring
sites, monitoring terminals, web servers, desktop personal computers (PCs), notebook
personal computers (PCs), laptops, [] cell phones, [] personal digital assistants (PDAs),

[|, handhelds.

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Figure 2 shows how the smartphone cameras satisfies the requirements of

the three patent claims [5, 23, & 1]. The camera is an addition or an alternative to

the ATAK.

Google Pixel 3:
Dual - 12,2 MP
(megapixel), OLS
16 MP (megapixel)
Camera lens in cell
phone with
microfluidic lens
functions as camera;
uses microscope to
focus on a chemical
sensor. A megapixel
camera captures the
image from the
array of nanopores
uses fluid rather
than bulky moving
parts. The sensors
contained in one
array is determined
by the pixel
resolution phone
camera. Megapixel
resolution in cell
phone cameras;
probe a million
different spots on
the sensor
simultaneously.
Tiny sensors tucked
into cell phones
could map airborne
toxins in real time.
Source: https://
www understanding
nano.com/cell-
phone-sensors-
toxins.htm]

 

Samsung Galaxy
S21; 12 MP
(megapixel), Dual
Pixel PDAF OFS 64
MP (megapixel)
Camera lens in cell
phone with
microfluidic lens
functions as camera;
uses microscope to
focus on a chemical
sensor. A megapixel
camera captures the
image from the
array of nanopores
uses fluid rather
than bulky moving
parts. The sensors
contained in one
array is determined
by the pixel
resolution phone
caimnera, Megapixel
resolution in cell
phone cameras;
probe a million
different spots on
the sensor
simultaneously.
Tiny sensors tucked
into cell phones
could map airborne
toxins in real time.
Source: https://
www.understanding
nane.com/cell-
phone-sensors-
toxins.html

 

 

Claim 5 limitation
of the ‘287 Patent

one or more
detectors in
communication with
the at least one CPU
for detecting at least
one of chemical,
biological,
radiological, or
explosive agents;

 

Claim 23 limitation
of the ‘439 Patent

at least one of a
chemical sensor, a
biological sensor, an
explosive sensor, a
human sensor, a
contraband sensor,
or a radiological
sensor capable of
being disposed
within, on, upon or
adjacent the cell
phone;

 

 

Claim I limitation
of the 189 Patent

a transmitter for
transmitting signals
and messages to at
least one of plurality
product groups
based on the
categories of a
multi-sensor
detection device ...
acell phone
detection device ...

a receiver for
receiving signals,
data or messages

from at least one of
plurality product
groups based on the

catepories of a

multi-sensor
detection device ...
a cell phone
detection device

 

 

Figure 2

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2 can

Figure 3 is a visual display of different ways the smartphone camera 1
be used for detecting Chem/Bio agents. For each different way used, it qualifies as

an alternative to the ATAK.

 

Figure 3

 

1‘ The camera captures the image from the array of nanopores that uses fluid rather than bulky moving
parts. The sensors contained in one array is determined by the resolution phone camera. The resolution in
cell phone cameras; probe a million different spots on the sensor simultaneously. Tiny sensors tucked into
cell phones could map airborne toxins in real time. Source: https:// www.understanding nano.com/cell-
phone-sensors-toxins.html

2 Hyperspectral imaging scans for light frequencies that humans can't see in order to identify the
unique chemical signatures of different substances. They say their device, which can be mass produced, is
compatible with all standard smartphone cameras. These New Smartphone Cameras Could Tell You What
an Object Is Made of https://www.sciencealert.com/new-smartphone-cameras-could-tell-you-what-an-

object-is-made-of

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Figure 4 describes how at least nine (9) standard sensors for the smartphone
can be used as “biosensors”. For each different way used, it qualifies as an

alternative to the ATAK.

Rubber Joint wo LPIA case

  
  
   
      
  
 
  
 
  
 
 
 
 
 

Back and front camera
i” A -> Colorimetrle anatyses (LEIA readout)
, i --> lage analyses

: --> Photoplethysmography
--> VIS-spectromoter

> Microscopy
& e

Microphone
+> Voice racording “-~.
{stress levels}

~~~ lite Optical waveguide

{Direct SPR sensing array using MIPs}
~> Pathogens in water

--> Pathogens In food

 
  

Amtbient light sensor
(NP Aggregation tests and
colorimetiics in suspension}

~-> Cancer biomarkers

--> Toxic metals

+> Pathogens NNAP Electrodes

oo” * electrochemical detection}
--> Toxic metals in water
--> Organic pollutants in water

Missin spectrometer
{Chemometic detection}
--> Food freshness

Capitary infet «fhe
tair analyses) “

—> VOCs

. Y a --> Melanoma
> Airbara Capitary Inlet
Pathogens (Fluid analyses}
~> Aerasols Microfluidic casette

--> Cail counting
--> Bload analyses
{biomarkers, infectious diseases}

+> Interchangeble casettes
wiih varying assays

Figure 4

The Smartphones Biosensors:

Ambient light sensor: Cancer biomarkers; Toxic metals; Pathogens
Capillary inlet: (Air analysis). Airborne Pathogens; Aerosols
Capillary inict: (Fluid analysis). Blood analysis; Biomarkers
Microfluidic cassette: Interchangeable cassettes with varying assays
VIS-NIR spectrometer: Food freshness; Melanoma

NNAP Electrodes: Toxic metals and Organic pollutants in water
Optical Waveguide: Pathogens in water and food

Back and front camera: Colorimetric analysis; Image analysis

eo FN DY FY SP

Microphone: Voice recording stress levels

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Figure 5 list some of the same standard sensors illustrated in Figure 4. The

port on the smartphone below is used for the CBRN plug-ins included in ATAK.

Accelerometer
GPS L 78,15) Gyroscope
2:7;
Proximity sensor é-; re Pressure sensor
2 @
Camera et
3; 9: 10; 17-20; 22; 23; |
Humidity sensor
Image sensor el 9
E49: 20;
Touch sensor | __p-@ Temperature sensor
Eas:
Fingerprint sensor Le Magnetometer
q° L ?

 

Le Microphone

43; 14;
“Le Plug-Ins
19-22:

   

Ambient light sensor el,
16;
Biuetooth
RAs.
Figure 5

ATAK is a digital application available to warfighters throughout the DoD. Built on the
Android operating system, ATAK offers warfighters geospatial mapping for situational
awareness during combat — on an end-user device such as a smartphone or a tablet. With
DTRA’s contribution, ATAK now includes chemical, biological, radiological, and nuclear
(CBRN) plug-ins.

Just having a plug-in is not all that’s involved. There has to be an app specific software to
sync the chemical, biological, radiological, and nuclear sensors to the smartphone plus the

Google Android Operating System.

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PRAYER FOR RELIEF

Wherefore, Golden respectfully requests that this Court enter:

A. A judgment in favor of Golden that the defendant has infringed at least
one or more claims of the ‘287 Patent, the ‘439 Patent, and the ‘189 Patent as aforesaid;

B. A permanent injunction enjoining the defendant, its officers, directors,
agents, servants, affiliates, employees, divisions, branches, subsidiaries, parents and all
others acting in active concert or privity therewith from direct, indirect and/or joint
infringement of the ‘287, ‘439, and ‘189 patents as aforesaid pursuant to 35 U.S.C. § 283;

C. A judgment and order requiring the defendant to pay Golden its damages
with pre- and post-judgment interest thereon pursuant to 35 U.S.C. § 284;

D. As set forth in Golden’s preliminary infringement contentions that the
Defendant in this case is making, using, offering for sale, selling and/or importing the
aforementioned alleged infringing devices that have at a minimum, directly infringed the
‘287, ‘439, and ‘189 patents. The Defendant is thereby liable for infringement of the
‘287, ‘439, and ‘189 patents pursuant to 35 U.S.C. § 271. The Defendant has caused
damage to Golden, which infringement and damage will continue unless and until the
Defendant is enjoined.

E. Any and all further relief to which the Court may deem Golden entitled.

DEMAND FOR JURY TRIAL

Golden requests a trial by jury on all issues so triable by right pursuant to Fed, R. Civ. P.

38. A right guaranteed under the Seventh Amendment of the United States Constitution.

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Respectfully submitted,

S/ oda Eibe Date: 01 /02/2023
Sf {

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